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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
DYLAN TOKAR,                        )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )  Civil Action No. 16-2410 (RC)
                                    )
UNITED STATES                       )
DEPARTMENT OF JUSTICE,              )
                                    )
      Defendant.                    )
                                    )

                                       STATUS REPORT

       Pursuant to the Court’s order dated February 18, 2020, Plaintiff Dylan Tokar (“Plaintiff”)

and Defendant United States Department of Justice (“Defendant” or “DOJ”), by and through

undersigned counsel, report to the Court as follows.

       1.      Following the last status report, the only remaining issues following the Court’s

order dated December 19, 2019, concerns the redaction of the existence of client representations

of two monitor candidates. The Court’s order directed DOJ to (1) contact the relevant monitor

candidates and inquire whether the candidates have their clients’ consent to publicly disclose

(and/or have previously publicly disclosed) the existence of those representations and (2)

conduct its own inquiry into whether the existence of those representations is already in the

public domain. In the last status report, DOJ stated that, on February 6, 2020, it contacted the two

monitor candidates at issue to inquire whether the candidates have their clients’ consent to

publicly disclose the existence of those representations, or whether the existence of those

representations have previously been disclosed. DOJ reported that it had received a response

from one of the candidates who asked a series of questions about the current proceedings and the
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information at issue and DOJ provided a response and was still awaiting a further response from

this individual. DOJ also reported that it had not received a response from the other candidate.

       2.      Since the last status report, DOJ heard back from the one monitor candidate who

had been in contact, and has determined that it can make a release as to that candidate. That

release was made on March 16, 2020. DOJ still has not received a response from the other

monitor candidate, but, based on the research it has undertaken, it remains DOJ’s position that

that representation does not appear to be public and thus DOJ maintains its position as to that

withholding.

       3.      Plaintiff does not concede that the remaining withholding is appropriate or

justified under FOIA Exemption 6 and/or 7(C). Nonetheless, in an effort to bring this matter to

conclusion, Plaintiff is not challenging that withholding further.

       4.      Accordingly, the only remaining issue for resolution by the Court concerns the

issue of attorneys’ fees and costs. The parties propose that they confer on that issue for a period

of approximately 30 days and, if a resolution cannot be reached, that the parties propose a

schedule for briefing of a motion for attorneys’ fees in the next status report. Accordingly, the

parties propose that they report back to the Court by April 21, 2020.

                                      Respectfully submitted,

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                                      United States Attorney

                                      DANIEL F. VAN HORN, D.C. BAR # 924092
                                      Civil Chief

                                      By: _____/s/_________________
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